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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

ROWENA DZIUBLA,                              )
                                             )
                              Plaintiff,     )
                                             )
                                             )      Case No. 1:18-cv-4542
                                             )
J.C. ANDERSON, INC. and                      )
PETER ERLING JACOBSEN                        )
                                             )
                              Defendant.     )      JURY DEMANDED

      JOINT STATUS REPORT PURSUANT TO THIRD AMENDED GENERAL
                   ORDER 20-0012 DATED APRIL 24, 2020

        Plaintiff, Rowena Dziubla, and Defendants, J.C. Anderson, Inc. and Peter Erling

Jacobsen, submit the following Joint Status Report pursuant to the Court’s Third Amended

General Order 20-0012 dated April 24, 2020:

(a)     The parties have completed discovery.

(b)     Defendant, Peter Erling Jacobsen, filed a Motion for Summary Judgment on

January 10, 2020. Defendant’s Motion for Summary Judgment is fully briefed.

(c)     The parties have previously conducted settlement discussions. The parties have not

reached a settlement.

(d)     There is no action to be taken within the next 45 days pending the Court’s ruling

on Defendant’s Motion for Summary Judgment.

(e)     There is no need for an agreed proposed revised discovery schedule or dispositive

motion schedule as discovery and dispositive motions have been completed.

(f)     The only pending motion before the Court is Defendant’s Motion for Summary

Judgment, which may be decided without a hearing.



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(g)   A telephonic hearing with the judge is not necessary.

Date: May 14, 2020

                                                   Respectfully submitted,

PETER ERLING JACOBSEN


By:/s/ Mary H. Cronin
One of His Attorneys

One of His Attorneys
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ROWENA DZIUBLA

By: /s/ Sam Sedaei
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J.C. ANDERSON, INC.


By: /s/ Eugene Boyle
One of Its Attorneys

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